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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 DEBORAH JAYNE LARSON,                           §
                                                 §
          Plaintiff,                             §
 vs.                                             §
                                                 §
 DEUTSCHE BANK NATIONAL TRUST                    § CIVIL NO: 4-21-CV-00970
 COMPANY, AS TRUSTEE FOR                         §
 MORGAN STANLEY ABS CAPITAL I                    §
 INC. TRUST 2005-HE1, MORTGAGE                   §
 PASS-THROUGH CERTIFICATES,                      §
 SERIES 2005-HE1; AND                            §
 PHH MORTGAGE CORPORATION,                       §
                                                 §
          Defendants.                            §

         PLAINTIFF’S ANSWER AND AFFIRMATIVE DEFENSES REGARDING
                             COUNTERCLAIM

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Deborah Jayne Larson (“Plaintiff” or “Jayne Larson”) files this Answer

and Affirmative Defenses to Counterclaim in response to Defendants’ Amended Answer,

Affirmative Defenses, and Counterclaim (“Counterclaim”) filed by Defendants, Deutsche Bank

National Trust Company, as Trustee for Morgan Stanley ABS Capital I Inc. Trust 2005-HE1,

Mortgage Pass-Through Certificates, Series 2005-HE1 (“Deutsche Bank”) together with PHH

Mortgage Corporation (“PHH”) (collectively Deutsche Bank and PHH are “Defendants”).

                                  JURSIDTION AND VENUE

         1.       The allegations in this paragraph constitute legal conclusions to which no

response is required.

         2.       The allegations in this paragraph constitute legal conclusions to which no

response is required.




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                                         THE PARTIES

         3.     Plaintiff admits the allegations in this paragraph.

         4.     Plaintiff admits that Deutsche Bank is a national banking association. Plaintiff

lacks sufficient information or belief to enable her to answer the allegation that Deutsche Bank

is authorized to conduct business in the State of Texas and on that basis denies the allegation.

         5.     Plaintiff admits that PHH is a corporation. Plaintiff lacks sufficient information

or belief to enable her to answer the allegation that PHH is organized under the law of New

Jersey and that PHH is authorized to conduct business in the State of Texas, and on that basis

denies the allegation.

                                  FACTUAL BACKGROUND

    A. The Loan

         6.     Plaintiff admits that on or about September 4, 2004, Sydney Shirley Larson

(“Borrower”) obtained a mortgage loan in the original principal amount of $88,000.00 by

executing the Note. Except as admitted, Plaintiff lacks sufficient information or belief to enable

her to answer the allegations in this paragraph and on that basis, denies the allegations.

         7.     Plaintiff admits that the Note is secured by that certain Texas Home Equity

Security Instrument and Texas Home Equity Affidavit and Agreement (“Security Instrument”)

of even date therewith, signed by Borrower, which was filed for record in the Official Records

of Harris County, Texas, creating a lien on the Property, as being further described as follows:

         LOT SIX (6) OF HARRISON VILLAS, AN ADDITION IN HARRIS COUNTY,
         TEXAS ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN
         VOLUME 284, PAGE 124 OF THE MAP RECORDS OF HARRIS COUNTY,
         TEXAS.

The allegation that the lien is valid constitutes a legal conclusion to which no response is

required. Plaintiff lacks sufficient information or belief to enable her to answer the allegation



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that Exhibit 2 is a true and correct copy of the Security Instrument and on that basis denies the

allegation.

         8.     Plaintiff admits that Deutsche Bank is the beneficiary under the Security

Instrument. Except as admitted, Plaintiff lacks sufficient information or belief to enable her to

answer the allegations in this paragraph and on that basis, denies the allegations.

         9.     Plaintiff lacks sufficient information or belief to enable her to answer the

allegations in this paragraph and on that basis, denies the allegations.

    B. The Default

         10.    The allegations in this paragraph constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff states that the Note

and Security Instrument speak for themselves and respectfully refers the Court to such

documents for a complete and accurate statement of its contents.

         11.    The allegations in this paragraph constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff states that the Note

and Security Instrument speak for themselves and respectfully refers the Court to such

documents for a complete and accurate statement of its contents.

         12.    The allegations in this paragraph constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff states that the Note

and Security Instrument speak for themselves and respectfully refers the Court to such

documents for a complete and accurate statement of its contents.

         13.    Plaintiff lacks sufficient information or belief to enable her to answer the

allegation that on September 1, 2015, the Servicer mailed Borrower a Notice of Default. The

allegations in this paragraph that the Notice of Default provided notice the Loan was past-due




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in the amount of $91,213.81 and indicated that foreclosure proceeding foreclosure proceedings

would be initiated if this default amount was not paid constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff states that the

Notice of Default speaks for itself and respectfully refer the Court to such document for a

complete and accurate statement of its contents. Plaintiff lacks sufficient information or belief

to enable her to answer whether Exhibit 4 is a true and correct copy of the Notice of Default.

    C. Tolling of Limitations Period

                1. The Prior Lawsuits

         14.    Plaintiff admits that several judicial proceedings have occurred related to the

Property since Borrower’s death. Plaintiff lacks sufficient information or belief to enable her to

answer whether there were six separate proceedings, and on that basis, denies that allegation.

         15.    Plaintiff admits that on July 22, 2011 Deutsche Bank filed a Home Equity

Foreclosure Application was filed in Cause No. 2011-43354 in the 157th Judicial District Court

of Harris County, Texas. Plaintiff denies that the 2011 Application was an application for

judicial foreclosure. Plaintiff lacks sufficient information or belief to enable her to answer the

allegation that a balance of $83,522.93 was owed on the Note and on that basis, denies the

allegation.

         16.    Plaintiff admits the allegations in this paragraph, except Plaintiff denies any

implication that Larson had authority or standing to bring suit on behalf of the Estate of

Borrower.

         17.    Plaintiff admits that on October 4, 2013 Deutsche Bank filed a Home Equity

Foreclosure Application was filed in Cause No. 2013-59791 in the 125th Judicial District Court

of Harris County, Texas. Plaintiff denies that the 2013 Application was an application for




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judicial foreclosure. Plaintiff lacks sufficient information or belief to enable her to answer the

allegations that the amount owed to cure the default was $13,889.51 and the total balance of the

Note was $98,511.50 and, on that basis, denies the allegations. Plaintiff denies that Larson

answered on behalf of the Estate of Borrower. Plaintiff denies that an order granting judicial

foreclosure was signed on March 7, 2014. Plaintiff admits the March 7, 2014 order for non-

judicial foreclosure was thereafter vacated. Except as admitted, Plaintiff lacks sufficient

information or belief to enable her to answer the allegations in this paragraph and on that basis,

denies the allegations.

         18.     Plaintiff denies that on May 27, 2014 Larson filed a complaint against Deutsche

Bank. Plaintiff admits that the Larson’s complaint filed on May 5, 2014 in Cause 2014-25592

in the 55th Judicial District Court of Harris County, Texas was removed as Cause No. 4:14-CV-

01470 in the United States District for the Southern District of Texas, Houston Division. Plaintiff

lacks sufficient information or belief to enable her to answer the allegations whether the 2014

case was dismissed with prejudice for failure to state a claim on September 19, 2014 and on that

basis, denies the allegation. Plaintiff admits that on July 25, 2017 Servicer, on behalf of Deutsche

Bank, filed a Home Equity Foreclosure Application in Cause No. 2017-49199 in the 152nd

Judicial District Court of Harris County, Texas. Plaintiff denies that the 2017 Application was

an application for judicial foreclosure. Plaintiff lacks sufficient information or belief to enable

her to answer the allegations that the amount owed to cure the default was $105,836.57 and the

total balance of the Note was $146,082.69 and, on that basis, denies the allegations. Plaintiff

admits that the 152nd Court granted judgment in favor of Defendants in June 2018, that Plaintiff

filed a motion to vacate but denies that such motion was filed to prevent the foreclosure of the

Property. Plaintiff admits the 2017 Application case was dismissed on September 12, 2018.




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                   2. The Bankruptcies and Probate Proceeding

         19.       Plaintiff admits on November 3, 2014 Larson filed a bankruptcy petition (the

“2014 Bankruptcy”) in the U.S. Bankruptcy Court for the Southern District of Texas (the

“Bankruptcy Court”). Plaintiff denies the 2014 Bankruptcy was pending for a total of 111 days

before it was dismissed on February 24, 2015.

         20.       Plaintiff admits on April 6, 2015 Larson filed a bankruptcy petition (the “2015

Bankruptcy”) in Bankruptcy Court. Plaintiff denies the 2015 Bankruptcy was pending for a total

of 148 days before it was dismissed on September 1, 2015.

         21.       Plaintiff admits the allegations in this paragraph.

         22.       Plaintiff admits the allegations in this paragraph.

         23.       Plaintiff admits the allegations in this paragraph.

                   3. Death of Borrower

         24.       The allegations in this paragraph constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff states that the TEX.

CIV. PRAC .& REM. CODE § 16.062 1 speaks for itself and respectfully refers the Court to such

statute for a complete and accurate statement of its contents.

                   4. Impact of Prior Proceedings

         25.       The allegations in this paragraph constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff states that the TEX.

R. CIV. P. 736.11 speaks for itself and respectfully refers the Court to such rule for a complete

and accurate statement of its contents.

         26.       Plaintiff denies the allegations in this paragraph.


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 Defendants cited TEX. R. CIV. P. 16.062 but Plaintiff assumes this reference was incidental error and that
Defendants intended TEX. CIV. PRAC. & REM. CODE § 16.062.


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         27.     The allegations in this paragraph constitute legal conclusions to which no

response is required.

         28.     The allegations in this paragraph constitute legal conclusions to which no

response is required.

         29.     Plaintiff admits that she filed suit against Defendants on February 22, 2021.

Plaintiff denies that her filing suit tolled the limitations period.

         30.     Plaintiff denies the allegations in this paragraph.

                                      CAUSES OF ACTION

    A. Judicial Foreclosure

         31.     Plaintiff re-alleges and incorporates each and every response set forth above as

if fully stated herein.

         32.     Plaintiff denies the allegations in this paragraph.

         33.     Plaintiff admits Deutsche Bank is the beneficiary of the Security Instrument.

Plaintiff lacks sufficient information or belief to enable her to answer the allegation that

Deutsche Bank is owner of the Note. Plaintiff denies the remaining allegations in this paragraph.

         34.     Plaintiff lacks sufficient information or belief to enable her to answer the

allegations in this paragraph and on that basis, denies the allegations.

         35.     Plaintiff denies the allegations in this paragraph.

         36.     Plaintiff denies the allegations in this paragraph.

    B. Equitable Subrogation

         37.     Plaintiff re-alleges and incorporates each and every response set forth above as

if fully stated herein.

         38.     Plaintiff denies the allegations in this paragraph.




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    C. Unjust Enrichment

         39.     Plaintiff re-alleges and incorporates each and every response set forth above as

if fully stated herein.

         40.     The allegations in this paragraph constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff denies the

allegations in this paragraph.

         41.     The allegations in this paragraph constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, Plaintiff denies the

allegations in this paragraph.

         42.     Plaintiff denies the allegations in this paragraph.

                                            PRAYER

         43.     Plaintiff denies the allegations in this paragraph.



                                      ******************



                                 AFFIRMATIVE DEFENSES



                 Plaintiff alleges the following affirmative defenses to the Counterclaim. In

asserting these affirmative defenses, Plaintiff does not assume the burden to establish any fact or

proposition where that burden is property imposed on Defendant.

                             FIRST AFFIRMATIVE DEFENSE

                                         (Unclean Hands)

         1.      Some or all of Defendants’ counterclaims are barred by the doctrine of laches.




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                           SECOND AFFIRMATIVE DEFENSE

                                    (Statute of Limitations)

         2.     Some or all of Defendants’ counterclaims are barred by the statute of

limitations.

                            THIRD AFFIRMATIVE DEFENSE

                                            (Waiver)

         3.     Some or all of Defendants’ counterclaims are barred by waiver.

                           FOURTH AFFIRMATIVE DEFENSE

                                     (Condition Precedent)

         4.     Defendants’ claims fail due to their failure to satisfy a condition precedent to

the commencement of this action.

                             FIFTH AFFIRMATIVE DEFENSE

                                     (Additional Defenses)

         5.     Plaintiff states that she does not presently know all the facts concerning the

conduct of Defendants and their enumerated (or potential) causes of action sufficient to state all

affirmative defenses at this time. Accordingly, Plaintiff reserves the right to asset additional

affirmative defenses in the event that she later discovers facts supporting such defenses.




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                                          Respectfully submitted,

                                          CRAIN, CATON & JAMES
                                          A Professional Corporation

                                          BY:     /s/ Keith A. Taylor
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                                                 Attorneys for Plaintiff, Deborah Jayne Larson


                              CERTIFICATE OF SERVICE

     I certify that a correct copy of the foregoing was filed with the Clerk of the Court via
CM/ECF filing system on April 29th, 2021, and served on all counsel of record as shown below:

 Via ECF and/or Email
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